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                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 GAYLA F. MURPHY, on behalf of herself and
 all other similarly situated,
                                                         Case No. 3:19-cv-01454-N
 Plaintiff,
                                                         Honorable Judge David C. Godbey
 v.

 DIRECT ENERGY SERVICES, LLC,

 Defendant.

               NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        NOW COMES GAYLA F. MURPHY (“Plaintiff”), by and through her attorneys,

Sulaiman Law Group, Ltd. and, in support of her Notice of Voluntary Dismissal with Prejudice,

state as follows:

        Plaintiff, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby voluntarily

dismisses her claims against the Defendant, DIRECT ENERGY SERVICES, LLC, with prejudice.

Each party shall bear its own costs and attorney fees.


Dated: October 10, 2019                      Respectfully Submitted,

                                             /s/ Nathan C. Volheim
                                             Nathan C. Volheim, Esq.
                                             Counsel for Plaintiff
                                             Admitted in the Northern District of Texas
                                             Sulaiman Law Group, Ltd.
                                             2500 S. Highland Avenue, Suite 200
                                             Lombard, IL 60148
                                             Phone (630) 575-8181
                                             Fax: (630)575-8188
                                             nvolheim@sulaimanlaw.com
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                                CERTIFICATE OF SERVICE
       I, the undersigned, hereby certify that on October 10, 2019 , a true and correct copy of the

above and foregoing document was filed with the Court and served on all parties requested

electronic notification.



                                                             /s/Nathan C. Volheim
                                                              Nathan C. Volheim
